1    Robert W. Ferguson, Attorney General of Washington                 The Honorable Mary Jo Heston
     Dina L. Yunker, Assistant Attorney General                                            Chapter 11
2    Office of the Attorney General                                   Hearing Date: December 20, 2023
     Bankrutpcy & Collections Unit                                           Hearing Time: 10:30 a.m.
3    800 Fifth Avenue, Suite 2000                                      Hearing Location: Courtroom H
     Seattle, WA 98104                                              1717 Pacific Avenue, Tacoma, WA
4
     bcuyunker@atg.wa.gov                                          Response Date: December 13, 2024
5    (206) 389-2198

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7

8                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF WASHINGTON
9
       In re                                                   NO. 23-41110
10

11     SPEED TRANS, LLC,                                       STATE OF WASHINGTON’S
                                                               OBJECTION TO CONFIRMATION
12                                         Debtor(s).          OF PLAN AND AMENDED PLANS

13                                                             [ECF Nos. 102, 143, 163]
14
               The State of Washington Departments of Revenue, Labor and Industries, and
15
     Employment Security, by and through the undersigned attorneys, object to confirmation of the
16
     debtor’s Plan of Reorganization filed herein as ECF No. 102, and the Debtor’s 1st and 2nd
17

18   Amended Plans of Reorganization filed herein as ECF Nos. 143 and 163 (collectively, the

19   “Plan”). The reasons for the State’s objection are as follows:

20             1.     Legal Authority. Under 11 U.S.C. § 1191(a), the court shall confirm a
21   Subchapter V plan only if it meets all of the requirements set forth in 11 U.S.C. § 1129(a)
22
     other than paragraph (15) of that section. In turn, 11 U.S.C. § 1129(a)(9)(C) requires that,
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     absent an agreement otherwise, the plan retire priority tax claims within 60 months from the
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     date the petition was filed, and that payment is made in a manner not less favorable than the
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1    most favored nonpriority unsecured clain provided for by the plan. Debtor filed its petition on

2    July 11, 2023. Sixty months from the filing date is July 11, 2028.
3             2.       Department of Revenue Claim. The Department of Revenue (DOR) has filed
4
     Claim No. 8-1 for a total of $24,897.00, of which $19,300.00 is for priority tax and prepetition
5
     interest and the $5,597 balance is a general unsecured claim for tax penalties.
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              3.       Department of Labor & Industries Claims. The Department of Labor and
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     Industries (L&I) has filed Claim No. 15-1 for a total of $11,805.54, of which $11,691.53 is for
8
     priority tax and prepetition interest and the $114.01 balance is a general unsecured claim for tax
9

10   penalties. L&I filed a second Proof of Claim for $27.50 as a general unsecured creditor, based on

11   violation of RCW 49.70.177, L&I’s “Right to Know” statute (see Claim No. 16-1).

12            4.       Employment Security Department Claim. The Employment Security Department
13   (ESD) has filed Claim No. 2-1for a total of $2,491.28, of which $2,095.84 is for priority tax and
14
     prepetition interest and the $395.44 balance is a general unsecured claim for tax penalties.
15
              5.       Prima Facie Evidence. Pursuant to Federal Rule of Bankruptcy Procedure 3001(f),
16
     the proofs of claim filed by DOR, L&I, and ESD are prima facie evidence of the validity and
17
     amount of those agencies’ claims.
18
              6.       Proposed Payments.
19

20                     a)       State Tax Agencies. Debtor proposes to pay all three of the State taxing

21            agencies in monthly installments of $200 for each agency, beginning on March 15,

22            2024 1 and continuing thereafter until each claim is paid in full, with interest accruing
23
              at a rate, designated as “statutory”, of 4%.
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            1
              ECF No. 148 at page 8 actually proposes to start payments to DOR on March 15, 2023; however,
26   March 15, 2023 passed before Debtor filed this bankruptcy. For purposes if its analysis, the State assumes the

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1                     b)      Federal Tax Agency. The Internal Revenue Service (IRS) has filed

2            Claim No. 14-1for a total of $65,150.34, of which $34,984.95 is for priority tax and

3            prepetition interest and the $28,165.39 balance has been designated as a general unsecured
4            claim. See Claim No. 14-1 on file herein. Debtor proposes to pay the IRS on its
5
             priority claim in monthly installments of $650 each, beginning on March 15, 2024 and
6
             continuing thereafter until the claim is paid in full, with interest accruing at a rate,
7
             designated as “statutory”, of 7%.
8

9                     c)      General Unsecured Claims. The Debtor proposes to pay general

10           unsecured claims pro rata from a monthly payment of $15,000.00 beginning on

11           August 1, 2025 and continuing until 100% is returned, with interest accruing at the
12
             rate of 5.36%. Although Debtor proposes to fully retire general unsecured claims, its
13
             Plan does not offer information sufficient to determine what a 100% payout would
14
             look like. On Schedule E, Debtor has indicated $684,480.00 owing to general
15
             unsecured creditors. ECF No. 54. Proofs of claim on file indicate general unsecured
16

17           claims in the vicinity of $177,622.44. See proofs of claims number 1-1 ($15,193.96 to

18           Dobbs Peterbuilt), 2-1($395.44 to ESD), 3-1 ($3,358.00 to Pacific Office Automation,
19           LLC), 5-1 ($103,360.14 to JPMorgan Chase Bank, N.A.), 6-3 ($5581.91 to JPMorgan
20
             Chase Bank, N.A.), 8-1 ($5,597.00 to DOR), 9-1 ($11,558.98 to NCSI, Inc.), 12-1
21
             ($4,310.11 to XTRA Lease, LLC), 14-1 ($28,165.39 to IRS), 15-1 ($114.01 to L&I),
22
             and 16-1 ($27.50 to L&I).
23

24

25
     Debtor intends to begin payments to DOR on the same date it proposes to begin payments to L&I and ESD; that is
26   March 15, 2024.

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1            7.      Objection to Treatment of General Unsecured Creditors More Favorably than

2    Higher Priority Tax Creditors. At the rate of $15,000 per month, the debtor would need 46
3    months to retire the principal portion of the general unsecured debt it reflects on Schedule E.
4
     It would need only approximalely 12 months to retire the principal portion of the general
5
     unsecured debt reflected in the Proofs of Claim on file herein. Nothing in the Plan indicates
6
     how much general unsecured debt is to be retired and with the absence of a dollar figure,
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8    interest cannot be computed. Regardless of which estimate is used, general unsecured

9    creditors will be paid their principal in full, ahead of the higher priority state tax claimants.

10   Such an outcome violates 11 U.S.C. § 1129(a)(9)(C)(iii) and the State objects to confirmation
11   of the Plan as written.
12
             8.      Specific Objection of DOR. At the rate of $200 per month, it will take Debtor
13
     more than 96 months to retire just the principal portion of DOR’s $19,300 priority tax claim.
14
     DOR does not agree to treatment less than required by 11 U.S.C. § 1129(a)(9(C).
15

16   Additionally, at the rate of $650 per month, it will take Debtor only 54 months to retire just

17   the principal portion of the IRS’s $34,984.95 priority tax claim. Under the Plan, not only will

18   the IRS will receive treatment within the 60 month window permitted under 11 U.S.C. §
19
     1129(a)(9)(C)(ii), it will be paid at rate significantly greater than the rate Debtor proposes to
20
     pay the state taxing agencies, which stand on equal footing with the IRS in terms of priority.
21
     While the debts owed to each agency might differ in amount, the Plan should not discriminate
22
     among creditors of the same priority and DOR objects to payment rates that are not made pro-
23

24   rata with the IRS. Finally, with respect to interest, (a) the Plan does not specify the periodicity

25   at which interest is to be computed, and (b) the statutory interest rate for delinquencies owed
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1    to DOR is set forth in RCW 82.32.050(1)(b) and (2), is not currently 4%, and may be

2    something different on the Effective Date. Whatever the statutory rate turns out to be, the
3    Debtor cannot retire the principal tax amount, much less interest thereon, within 60 months
4
     from the petition date as required by the Code. DOR objects to confirmation of the Plan as
5
     written.
6
            9.      Specific Objection of L&I. At the rate of $200 per month, it will take Debtor
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8    more than 58 months to retire just the principal portion of L&I’s $11,691.53 priority tax

9    claim. There is no way to calculate appropriate interest because (a) the Plan does not specify

10   the periodicity at which interest is to be computed, and (b) the statutory interest rate for
11   delinquencies owed to L&I is set forth in RCW 51.48.210 at the rate of 12% per annum. At
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     the rate of 12% per annum, interest on L&I’s $11,691.53 priority tax claim will extend the
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     debt owed by another $7,014.92 and extend the payment period by another 35 months. This
14
     puts full retirement of L&I’s priority tax claim, with interest at the rate specified in RCW
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16   51.48.210, some 93 months out. L&I does not agree to treatment less than that required by 11

17   U.S.C. § 1129(a)(9)(C) and objects to confirmation of the Plan as written.

18          10.     Specific Objection of ESD. ESD does not object to being paid at the rate of
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     $200 per month, commencing on March 15, 2024 because at that rate, its principal priority tax
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     debt should be retired in full within 11 months. This is consistent with the requirements of 11
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     U.S.C. § 1129(a)(9)(C). However, there is no way to compute appropriate interest because (a)
22
     the Plan does not specify the periodicity at which interest is to be computed, and (b) the
23

24   statutory interest rate for delinquencies owed to ESD is set forth in RCW 50.24.040 at the rate

25   of 12% per annum. At the rate of 12% per annum, interest on ESD’s $2,095.84 priority tax
26
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1    claim will extend the debt owed by another $230.54 and extend the payment period by

2    another 2 months. Absent an amendment to provide for interest on ESD’s prioirty tax claim at
3    the rate of 12% per annum, ESD objects to confirmation of the Plan.
4
            11.     Cramdown Plan. Under 11 U.S.C. § 1191(b), if the debtor cannot win the vote
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     of an impaired class, it may seek confimration under a cramdown plan as long as the plan
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     does note discriminate unfairly and is fair and equitable to each class of claims that is
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8    impaired under and has not accepted the plan. None of the tax agencies have been classified

9    and none are permitted to vote on the plan. Because cramdown plans pertain only to classified

10   and voting claims, Debtor cannot seek to confirm even a cramdown plan until such time as it
11   amends the Plan to treat priority tax debt as required by the Code.
12
            For the foregoing reasons, the State respectfully requests the Court deny confirmation
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     of the Plan as currently written.
14

15          DATED this 13th day of December 2023.

16                                                         ROBERT W. FERGUSON
                                                           Attorney General
17
                                                            /s/ Dina L. Yunker
18
                                                           DINA L. YUNKER, WSBA No. 16889
19                                                         Assistant Attorney General
                                                           Bankruptcy & Collections Unit
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